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    1                        UNITED STATES DISTRICT COURT
    2                        WESTERN DISTRICT OF NEW YORK
    3
         - - - - - - - - - - - - - X               24-CV-0040
    4    CONSUMER FINANCIAL
         PROTECTION BUREAU ET AL,
    5                   Plaintiff
    6              Vs.                             Buffalo, New York
         STRATFS, LLC (f/k/a STRATEGIC
    7    FINANCIAL SOLUTIONS LLC et al             January 24, 2025
                        Defendants
    8
         STRATEGIC ESOP, et al
    9                   Relief Defendants
         - - - - - - - - - - - - - X
   10
   11                 TRANSCRIPT OF EVIDENTIARY HEARING
                   BEFORE THE HONORABLE MICHAEL J. ROEMER
   12                    UNITED STATES MAGISTRATE JUDGE
   13
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   15
   16
   17
   18
   19
   20
   21
   22
   23               COURT REPORTER:Brandi A. Wilkins
                         scalisba@gmail.com
   24                    Kenneth B. Keating Federal Building
                         100 State Street, Room 1250A
   25                    Rochester, New York 14614
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    1                        A P P E A R A N C E S
    2                        CONSUMER FINANCIAL PROTECTION BUREAU
                             BY: AKASH DESAI, ESQ.
    3                            VANESSA BUCHKO, ESQ.
                                 JOSEPH SANDERS, ESQ.
    4                            NICOLE CABANEZ, ESQ.
                             1700 G Street, NW
    5                        Washington, DC 20552
                             Appearing on behalf of the Plaintiff
    6
                   OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL
    7                    BY: GENEVIEVE RADOS, ESQ.
                         350 Main Street
    8                    Buffalo, New York 14202
                         Appearing on behalf of the Plaintiff
    9
                             MCNAMARA SMITH LLP
   10                        BY: THOMAS MCNAMARA, ESQ.
                                 LOGAN SMITH, ESQ.
   11                        655 West Broadway Suite 900
                             San Diego, California 92101
   12                        Appearing on behalf of the Receiver
   13                        PERSONIUS MELBER LLP
                             BY: RODNEY PERSONIUS, ESQ.
   14                        2100 Main Place Tower
                             350 Main Street
   15                        Buffalo, New York 14202
                             Appearing on behalf of the Defendants
   16
                             HOOVER & DURLAND LLP
   17                        BY: TIMOTHY HOOVER, ESQ.
                                 SPENCER DURLAND, ESQ.
   18                        561 Franklin Street
                             Buffalo, New York 14202
   19                        Appearing on behalf of the Defendants
   20                        DELAWARE DEPARTMENT OF JUSTICE
                             CONSUMER PROTECTION BUREAU
   21                        BY: MARYANNE DONAGHY, ESQ.
                             820 N. French Street
   22                        5th Floor
                             Wilmington, Delaware 19801
   23
   24
   25
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    1                        W I T N E S S E S
         Name                     Examined By             Page
    2    Cameron Christo          Mr. Desai (DX)          6
                                  Mr. McNamara (DX)       52
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    1               THE CLERK:    United States District Court for
    2    the Western District of New York is now in session.
    3    The Honorable Michael J. Roemer residing.             We are here
    4    on the matter of Consumer Financial Protection Bureau
    5    et al. Versus Strategic case number 24-CV-40 for
    6    continuation of an evidentiary hearing.          Counsel,
    7    please state your name and who you represent.            We'll
    8    start with plaintiff's front table.
    9               MR. SANDERS:     Morning, Judge.      Joe Sanders
   10    on behalf of the CFPB.
   11               MS. RADOS:    Good morning, Your Honor.
   12    Assistant Attorney General Genevieve Rados on behalf
   13    of the People of the State of New York.
   14               MR. DESAI:    Morning, Your Honor.          Akash
   15    Desai on behalf of the CFPB.
   16               MR. SMITH:    Morning, Your Honor.          Logan
   17    Smith on behalf of the receiver.
   18               MR. MCNAMARA:     Good morning, Your Honor.
   19    Tom McNamara on behalf of the receiver.
   20               MS. BUCHKO:    Morning, Your Honor.          Vanessa
   21    Buchko from the CFPB.
   22               MS. CABANEZ:     Good morning, Your Honor.
   23    Nicole Cabanez from the CFPB.
   24               MS. DONAGHY:     Good morning, Your Honor.
   25    Mary Ann Donaghy for the State of Delaware.
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    1               MR. ROMANOFF:     Good morning, Your Honor.
    2    Evan Romanoff for the State of Minnesota.
    3               MR. PERSONIUS:     Good morning, Judge.        Rodney
    4    Personius for Lit Def Stategy.
    5               MR. HOOVER:      Tim Hoover and Spencer Durland
    6    with Mr. Christo from Fidelis.
    7               MR. CONNORS:     Terry Connors for the
    8    individual law firms.     Just under the wire.
    9               THE COURT:    Were you at the rally?        The
   10    Bills rally?
   11               MR. CONNORS:     I take the fifth.
   12               THE COURT:    All right.     Are we ready to go?
   13               MR. SANDERS:     We're ready, Judge.
   14               THE COURT:    Do you want to call your first
   15    witness?
   16               MR. SANDERS:     Plaintiffs call Cameron
   17    Christo an adverse witness.
   18               THE CLERK:    If I could just swear you in
   19    please raise your right hand.
   20               C A M E R O N     C H R I S T O, after having
   21    been duly called and sworn, testified as follows:
   22               THE CLERK:    Thank you.     Please have a seat.
   23    When seated, please state your name and spell it for
   24    the record.    Thank you.
   25               MR. HOOVER:      Judge, I should have asked but
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    1    okay to be up here?
    2               THE COURT:    Yes.
    3               MR. HOOVER:    Thank you.
    4               THE COURT:    Do you want to pull a chair up?
    5               MR. HOOVER:    Thank you.
    6               THE COURT:    Whatever you want to do.
    7               THE WITNESS:     Cameron Christo, C-A-M-E-R-O-N
    8    C-H-R-I-S-T-O.
    9               DIRECT EXAMINATION BY MR. DESAI:
   10    Q.    Well, Good morning, Mr. Christo.        My name is
   11    Akash Desai.    I'm an attorney with the CFPB.         Mr.
   12    Christo, you formed Fidelis legal support services;
   13    correct?
   14    A.    On the advice of my counsel, I invoke the fifth
   15    amendment privilege and respectfully decline to answer
   16    the question.
   17    Q.    You currently hold the title chief executive of
   18    Fidelis; is that correct?
   19    A.    On the advice of my counsel, I invoke the fifth
   20    amendment privilege and respectfully decline to answer
   21    the question.
   22    Q.    You created Fidelis on January 25, 2021; correct?
   23    A.    On the advice of my counsel, I invoke the fifth
   24    amendment privilege and respectfully decline to answer
   25    the question.
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    1    Q.    Fidelis is a limited liability company?
    2    A.    On the advice of my counsel, I invoke the fifth
    3    amendment privilege and respectfully decline to answer
    4    the question.
    5    Q.    And Fidelis provides litigation support services;
    6    correct?
    7    A.    On the advice of my counsel, I invoke the fifth
    8    amendment privilege and respectfully decline to answer
    9    the question.
   10    Q.    Mr. Christo, you created the Bush Lake Trust; is
   11    that correct?
   12    A.    On the advice of my counsel, I invoke the fifth
   13    amendment privilege and respectfully decline to answer
   14    the question.
   15    Q.    Mr. Christo, for Fidelis Legal Support, I'm going
   16    to refer to that here on forward as Fidelis, and for
   17    Bush Lake Trust, I'm going to refer to that entity as
   18    Bush Lake from here on out.      Mr. Christo, Bush Lake is
   19    registered in Nevada; correct?
   20    A.    On the advice of my counsel, I invoke the fifth
   21    amendment privilege and respectfully decline to answer
   22    the question.
   23    Q.    And Timothy Miller is a trustee of Bush Lake; is
   24    that correct?
   25    A.    On the advice of my counsel, I invoke the fifth
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    1    amendment privilege and respectfully decline to answer
    2    the question.
    3    Q.    Your descendant -- your children and their
    4    descendants were the beneficiaries of the Bush Lake
    5    Trust; is that correct?
    6    A.    On the advice of my counsel, I invoke the fifth
    7    amendment privilege and respectfully decline to answer
    8    the question.
    9    Q.    Fidelis's corporate documents previously listed
   10    you as the owner of the company; is that correct?
   11    A.    On the advice of my counsel, I invoke the fifth
   12    amendment privilege and respectfully decline to answer
   13    the question.
   14    Q.    And you transferred all of your ownership stake
   15    from Fidelis to Bush Lake; is that correct?
   16    A.    On the advice of my counsel, I invoke the fifth
   17    amendment privilege and respectfully decline to answer
   18    the question.
   19    Q.    Bush Lake is presently the sole owner of Fidelis;
   20    is that correct, Mr. Christo?
   21    A.    On the advice of my counsel, I invoke the fifth
   22    amendment privilege and respectfully decline to answer
   23    the question.
   24    Q.    Okay.   Mr. Christo, I'm going to ask you some
   25    questions about Fidelis's work flow.         Fidelis provides
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    1     litigation support services to debt settlement law
    2     firms that report consumers for credit law suits; is
    3     that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   And many of these debt settlement law firms offer
    8     services as part of a debt relief program promoted by
    9     Strat FS; is that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Mr. Christo, I'm going to refer to the debt
   14     settlement law firms from here on out as the
   15     intervener law firms, and I'm going to refer to Strat
   16     FS as SFS from here on out.         Mr. Christo, you know
   17     that SFS is a debt relief company; correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   And after consumers are sued by a creditor, SFS
   22     sends the litigation file to a litigation support
   23     company; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         10



    1     the question.
    2     Q.   In many cases after consumers have been sued by a
    3     creditor, SFS sends their litigation files to Fidelis;
    4     is that correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And after Fidelis receives a litigation file,
    9     Fidelis employees review the file and compile
   10     documents; is that correct?
   11     A.   On the advice of my counsel, I invoke the fifth
   12     amendment privilege and respectfully decline to answer
   13     the question.
   14     Q.   After reviewing the litigation file, Fidelis
   15     employees sign a file to a litigation attorney;
   16     correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   And the litigation attorneys I just referenced
   21     are sometimes also referred to as 1099 attorneys; is
   22     that right?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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                                                                         11



    1     Q.   And these attorneys are referred to as 1099
    2     attorneys because they're independent contractors;
    3     correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   And the litigation attorneys I just referenced
    8     are also sometimes called local counsel or appearance
    9     attorneys; is that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   From this point forward, Mr. Christo, when I
   14     refer to those attorneys, I'm going to use the term
   15     litigation attorney.     Mr. Christo, the litigation
   16     attorneys acted on behalf of the intervener law firms;
   17     is that correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   And Fidelis managed communications between the
   22     litigation attorney and SFS; is that correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   Litigation attorneys are only supposed to
    2     communicate with SFS through Fidelis; is that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And Fidelis helped facilitate settlements in
    7     creditor lawsuits; is that right?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   Now, Mr. Christo, prior to the entry of the
   12     temporary restraining order in this case you knew that
   13     consumers paid fees to the intervener law firms
   14     reporting to represent them before the firms reached a
   15     settlement with a creditor; is that correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   And before the entry of a temporary restraining
   20     order in this case, you knew that those consumer fees
   21     were placed in an escrow account; is that correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   And prior to the entry of the temporary
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                                                                         13



    1     restraining order in this case, you knew that the
    2     intervener law firms representing consumers were
    3     collecting fees before consumers started making
    4     payments on settlements; is that correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And prior to the entry of a temporary restraining
    9     order in this case, Fidelis knew that the intervener
   10     law firms were collecting fees from consumers before
   11     they reached settlements from creditors; is that
   12     correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   SFS is one of the debt relief companies to whom
   17     Fidelis sends its settlement for processing; is that
   18     right?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Indeed, the vast majority of settlements are sent
   23     by Fidelis to SFS for processing; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                          14



    1     the question.
    2     Q.   And Fidelis provided substantive settlement
    3     recommendations to litigation counsel; is that
    4     correct, Mr. Christo?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And Fidelis transmitted settlement proposals; is
    9     that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Fidelis handled litigation -- sorry.            Let me
   14     rephrase that question.
   15                Fidelis handled complaints about litigation
   16     counsel; is that correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   For example, Fidelis handled complaints from
   21     consumers about litigation counsels not returning
   22     their calls; is that correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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                                                                         15



    1     Q.   Fidelis handled complaints about the SFS debt
    2     relief program operated by SFS; is that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   Fidelis also handled complaints from consumers
    7     believing that they had been misled by SFS regarding
    8     the cost of the debt relief program; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   And Fidelis also handled complaints from
   13     consumers upset that there were insufficient funds in
   14     their escrow accounts to pay for their settlements
   15     despite the amount of fees they had already sent to
   16     participate in the SFS debt relief program; is that
   17     correct, Mr. Christo?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   The intervener law firms retained Fidelis for the
   22     litigation support services the company provides; is
   23     that right, Mr. Christo?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         16



    1     the question.
    2     Q.   Fidelis does not enter into any written contracts
    3     with the intervener law firms that retain its
    4     services; correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   Fidelis helps the intervener law firms manage
    9     their day-to-day business; is that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Indeed the intervener law firms themselves do not
   14     appear in court to represent consumers, do they?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   And instead, any attorney that might appear on
   19     behalf of the consumers reportedly represented by the
   20     intervener law firms is a litigation attorney that is
   21     assigned by Fidelis; is that correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   You are familiar with Lit Def Strategies;
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                                                                         17



    1     correct?
    2     A.      On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.      From this point forward, I'll refer to Lit Def
    6     Services LLC as Lit Def.     Mr. Christo, you are also
    7     familiar with a person named Jason Blust; right?
    8     A.      On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.      Jason Blust owned Lit Def; is that correct?
   12     A.      On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.      Before the entry of the temporary restraining
   16     order in this case, Lit Def provided litigation
   17     support services to intervener law firms; is that
   18     correct?
   19     A.      On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.      Fidelis is the successor to Lit Def; isn't that
   23     true?
   24     A.      On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         18



    1     the question.
    2     Q.   Fidelis performs the same substantive litigation
    3     support services for intervener law firms that Lit Def
    4     previously provided; is that correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   Fidelis employs individuals who previously worked
    9     for Lit Def; is that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Some Fidelis employees worked for Lit Def and
   14     Fidelis concurrently; is that true, Mr. Christo?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Mr. Christo, employees that concurrently worked
   19     at Lit Def and Fidelis toggled between profiles within
   20     the same software application to differentiate their
   21     Lit Def work and their Fidelis work; is that correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   Indeed, employees that concurrently worked at Lit
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                                                                         19



    1     Def and Fidelis used the same software; is that right?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   On April 5, 2021, Mr. Christo, you declined to
    6     schedule a call with Leadtrack with Ms. Gallagher
    7     after she told you that she and Jason Blust were
    8     already scheduled to have an earlier call with
    9     Leadtrack; is that correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   In fact, in declining to have that call, you
   14     remarked that it was unnecessary because it would
   15     be -- because it would amount to a "duplication of
   16     effort"; is that correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   Employees performed work for both Lit Def and
   21     Fidelis on the same computer equipment; is that
   22     correct, Mr. Christo?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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                                                                         20



    1     Q.   After Fidelis was created, Jason Blust began
    2     moving Lit Def's intervener law firm client roster to
    3     Fidelis; is that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Jason Blust controlled which intervener law firms
    8     migrated to Fidelis; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   And Jason Blust controlled when certain
   13     intervener law firms would migrate to Fidelis; is that
   14     correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Fidelis did not compete with Lit Def for
   19     potential debt settlement law firm clients; did it?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And you actually did not bring in any new law
   24     firm clients to Fidelis; correct?
   25     A.   On the advice of my counsel, I invoke the fifth
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                                                                         21



    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   All of Fidelis's law firm clients are those are
    4     controlled are Jason Blust; is that correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And Jason Blust determined that those law firms
    9     would retain Fidelis to handle work that was
   10     previously handled by Lit Def; is that correct?
   11     A.   On the advice of my counsel, I invoke the fifth
   12     amendment privilege and respectfully decline to answer
   13     the question.
   14     Q.   Mr. Christo, Fidelis shared employees with Lit
   15     Def; is that correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   Lisette Alvarez provided human resource services
   20     to Lit Def and Fidelis; is that correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   Fidelis used essentially the same employee
   25     handbook as Lit Def; correct?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   Mr. Christo, Shirley Saavedra is a current
    5     Fidelis employee; is that correct?
    6     A.   On the advice of my counsel, I invoke the fifth
    7     amendment privilege and respectfully decline to answer
    8     the question.
    9     Q.   Prior to working at Fidelis, Ms. Saavedra worked
   10     at Lit Def; is that correct?
   11     A.   On the advice of my counsel, I invoke the fifth
   12     amendment privilege and respectfully decline to answer
   13     the question.
   14     Q.   And after she joined Fidelis, Ms. Saavedra has
   15     worked concurrently at Fidelis and Lit Def through at
   16     least the entry of the temporary restraining order in
   17     this case; is that correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   When Ms. Saavedra worked at Lit Def, she
   22     performed the same litigation support services that
   23     she performed at Fidelis; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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    1     the question.
    2     Q.      Jean Comis is a current Fidelis employee; is that
    3     true?
    4     A.      On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.      And before working at Fidelis, Ms. Comis worked
    8     at Lit Def; is that correct?
    9     A.      On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.      After she joined Fidelis, Ms. Comis worked
   13     concurrently at Fidelis and Lit Def for at least the
   14     entry of the temporary restraining order in this case;
   15     correct?
   16     A.      On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.      When Ms. Comis worked at Lit Def, she performed
   20     the same litigation support tasks that she performed
   21     at Fidelis; is that correct?
   22     A.      On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.      Jennifer Moye is a current Fidelis employee; is
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    1     that correct?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   Before working at Fidelis, Ms. Moye worked at Lit
    6     Def; is that correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   And after she joined Fidelis, Ms. Moye has worked
   11     con currently at Fidelis and Lit Def for at least the
   12     entry of the temporary restraining order in this case;
   13     is that correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   When Ms. Moye worked at Lit Def, she performed
   18     the same litigation support tasks that she performed
   19     at Fidelis; is that correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   Peggy Slivka is a current Fidelis employee; is
   24     that correct?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   Before working at Fidelis, Ms. Slivka worked at
    4     Lit Def; is that right?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   After joining Fidelis, Ms. Slivka worked
    9     concurrently at Fidelis and Lit Def for at least the
   10     entry of the temporary restraining order in this case;
   11     is that correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   When Ms. Slivka worked at Lit Def, she performed
   16     the same litigation support tasks as she performed at
   17     Fidelis; is that right, Mr. Christo?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   Katherine Rosenberg is a former Fidelis employee;
   22     is that correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   Before working at Fidelis, Ms. Rosenberg worked
    2     at Lit Def; is that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And after joining Fidelis, Ms. Rosenberg worked
    7     con currently at Fidelis and Lit Def; is that right?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   When Ms. Rosenberg worked at Lit Def, she
   12     performed the same litigation support tasks that she
   13     performs at Fidelis; is that correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   Jason Blust controlled whether former Lit Def
   18     employees worked at Fidelis; is that right, Mr.
   19     Christo?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And Jason Blust controlled when former Lit Def
   24     employees would transition over to become Fidelis
   25     employees; is that right?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   And Fidelis employees used Lit Def email accounts
    5     to perform the same litigation support functions that
    6     they completed for Fidelis; is that correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   After Fidelis began servicing intervener law
   11     firms that previously retained Lit Def, attorneys from
   12     those law firms continued to send emails to Fidelis
   13     employees at their Lit Def email addresses; is that
   14     correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Michelle Hinds, I'm going to refer to her as
   19     Michelle Gallagher, was previously a manager at
   20     Fidelis; is that correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   Before she worked at Fidelis, Ms. Gallagher
   25     worked at Lit Def; is that right?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   And after joining Fidelis, Ms. Gallagher worked
    5     concurrently at Fidelis and Lit Def through at least
    6     the entry of the temporary restraining order in this
    7     case; is that correct, Mr. Christo?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   When Ms. Gallagher worked at Lit Def, she
   12     performed the same litigation support tasks that she
   13     performed at Fidelis; is that correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   While at Lit Def, Ms. Gallagher reported to Mr.
   18     Blust; is that right?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Ms. Gallagher over saw Fidelis's day-to-day
   23     litigation support operations; is that correct, Mr.
   24     Christo?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   In fact, Ms. Gallagher over awe day-to-day
    4     litigation support operations until she recently left
    5     Fidelis; is that correct, Mr. Christo?
    6     A.   On the advice of my counsel, I invoke the fifth
    7     amendment privilege and respectfully decline to answer
    8     the question.
    9     Q.   You relied on Ms. Gallagher to operate Fidelis's
   10     litigation support operations; correct?
   11     A.   On the advice of my counsel, I invoke the fifth
   12     amendment privilege and respectfully decline to answer
   13     the question.
   14     Q.   When Ms. Gallagher made recommendations to you
   15     about Fidelis's litigation support operations you
   16     generally followed her recommendations; correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   And Mr. Christo, you don't devote your entire
   21     working day to Fidelis matters; is that right?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   You owned various companies aside from Fidelis;
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    1     is that correct?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   And during the working day, you handle matters
    6     pertaining to their various companies; is that right?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   In fact, you were not involved in overseeing
   11     Fidelis's day-to-day litigation support operations; is
   12     that correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   You did not provide any substantive directions as
   17     to how Fidelis should conduct its litigation support
   18     entries; is that correct?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   You did not direct how Fidelis employees should
   23     review incoming litigation files; correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         31



    1     the question.
    2     Q.   You did not direct who Fidelis should hire as
    3     litigation attorneys to handle a client file; correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   You did not respond to complaints Fidelis
    8     received about issued attorneys; correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   You did not respond to complaints Fidelis
   13     received about the SFS debt relief program; is that
   14     correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Mr. Christo, you were not made aware of any
   19     complaints Fidelis received about litigation
   20     attorneys; correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   You were not made aware of any complaints Fidelis
   25     received about SFS; is that correct?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   You did not provide any direction as to how
    5     Fidelis employees should respond to complaints the
    6     company received about litigation attorneys; is that
    7     correct?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   You did not provide any direction as to how
   12     Fidelis employees should respond to complaints the
   13     company received about the SFS debt relief program;
   14     did you?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   You did not provide any direction as to how
   19     Fidelis employees should respond to any recommendation
   20     or litigation counsel regarding a creditor lawsuit;
   21     correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   Ms. Gallagher communicated with Fidelis's
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    1     intervener law firm clients on behalf of Fidelis; is
    2     that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And you weren't included in those communications
    7     with Fidelis's law firm clients; were you?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   Ms. Gallagher communicated with SFS on behalf of
   12     Fidelis; is that correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   Ms. Gallagher had regularly scheduled calls with
   17     SFS; is that correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   And you didn't join those calls; is that right?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   You left communications between Fidelis and SFS
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    1     to Ms. Gallagher Jason Blust; is that correct?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   You deferred to Ms. Gallagher's decisions
    6     concerning Fidelis's litigation support operations; is
    7     that correct?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   Ms. Gallagher sought Jason Blust's approval on
   12     matters relating to Fidelis's litigation support
   13     operations; is that correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   Jason Blust directed Ms. Gallagher on how to
   18     handle matters relating to Fidelis's litigation
   19     support operations; is that correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And Ms. Gallagher did not seek your approval on
   24     matters relating to Fidelis litigation support
   25     operations; is that correct, Mr. Christo?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   And you defer to Jason Blust's directions on
    5     matters relating to Fidelis's litigation support
    6     operations; is that correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   In the past, Mr. Christo, Michelle Gallagher's
   11     communicated with you about Charles Connors; is that
   12     correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   Charles Connors works for a software company
   17     called National Data Systems; is that correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   And National Data Systems maintains a software
   22     called Leadtrack; is that correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   Lit Def used Leadtrack; is that right?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   And Fidelis uses Leadtrack; is that correct?
    6     A.   On the advice of my counsel, I invoke the fifth
    7     amendment privilege and respectfully decline to answer
    8     the question.
    9     Q.   In April of 2021, Ms. Gallagher told you that
   10     Jason Blust wanted to conceal Fidelis from Charles
   11     Connors; is that correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   In fact, when you asked to be included on a call
   16     with Mr. Blust, Ms. Gallagher and Mr. Connors, Ms.
   17     Gallagher texted you that "Charles doesn't know about
   18     Fidelis because JB doesn't want him to"; is that
   19     correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And when Ms. Gallagher used the initials JB she
   24     was referring to Jason Blust; is that right?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   And in that text chain, Ms. Gallagher further
    4     texted you that the messaging Jason Blust was going to
    5     provide to Charles Connors was that "we want to create
    6     two separate paralegal teams"; correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   And that would be two separate paralegal teams
   11     within Lit Def; is that correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   And after receiving that information, Mr.
   16     Christo, you texted Ms. Gallagher back to inform her
   17     that you would not attend the call with Mr. Connors
   18     after all; correct?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Jason Blust made compensation decisions at
   23     Fidelis; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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    1     the question.
    2     Q.   Jason Blust set annual bonuses for Fidelis
    3     employees in 2023; is that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Jason Blust decided whether to hire additional
    8     personnel at Fidelis; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   Jason Blust controlled staffing levels at
   13     Fidelis; is that correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   On January 3, 2022, you asked Ms. Gallagher how
   18     many people would be needed for Fidelis to staff
   19     incoming intervener law firm clients; is that correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   In fact, you not only asked Ms. Gallagher to give
   24     you the number of people needed but you also asked you
   25     to provide you with their names so that you could move
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    1     them over to Fidelis's payroll on February 1, 2022; is
    2     that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   Now, those employees would be coming to Fidelis
    7     from Lit Def; is that correct?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   And the intervener law firms were also coming
   12     from Fidelis to Lit Def; is that correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   Fidelis did not get those law firms business
   17     through any client development of your own; right, Mr.
   18     Christo?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   You did not engage in any business development
   23     for Fidelis; did you, Mr. Christo?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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    1     the question.
    2     Q.   Mr. Blust decided to move those law firms'
    3     business over to Fidelis; is that right?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Now, when Ms. Gallagher responded to your
    8     question on January 3, 2022 about staffing this new
    9     business, she told you that she had no idea how to do
   10     so "without running this down with JB"; is that
   11     correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   And JB referred to Jason Blust; is that correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   Jason Blust directed that Ms. Gallagher work at
   20     Fidelis; is that right?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   Jason Blust controls Fidelis; is that correct?
   25     A.   On the advice of my counsel, I invoke the fifth
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                                                                         41



    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   Indeed, you are the head of Fidelis in name only;
    4     is that correct, Mr. Christo?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   The only work you did for Fidelis was routine
    9     administrative tasks designed to uphold the appearance
   10     that Fidelis was a company independent from Lit Def;
   11     is that right?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   But Fidelis is in fact Lit Def; right.           Mr.
   16     Christo?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   Mr. Christo, you assert in paragraph 36 of your
   21     March 4, 2024 declaration in this case that in the
   22     fall of 2021 you were hired by SFS "to vet a new
   23     software program"; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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    1     the question.
    2     Q.   That statement wasn't true though, was it?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   There is no executed written agreement describing
    7     the terms of software consulting services you were to
    8     provide to SFS; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   There's no written statement of work describing
   13     the services you intended to provide SFS; is that
   14     correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   There is no written work product documenting any
   19     of the work you provided to SFS is that correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   There is no written report you provided SFS upon
   24     the completion of your work documenting any
   25     recommendations you gave SFS; is that correct?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   There's no written report that you provided SFS
    5     upon completion of your work; is that correct, Mr.
    6     Christo?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   You were paid in total $750,000 from SFS to
   11     perform these reported technology consulting services;
   12     is that correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   But the $750,000 you received from SFS was not in
   17     fact for any technology consulting services you
   18     provided; correct?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Mr. Christo, Fidelis was operating as a business
   23     in January of 2024; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         44



    1     the question.
    2     Q.   And it was operating as a business in February of
    3     2024; is that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Fidelis was operating as a business in March of
    8     2024; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   Fidelis was operating as a business in April of
   13     2024; correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   Fidelis continued to operate as a business
   18     throughout 2024; is that correct, Mr. Christo?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Fidelis is still operating as a business; is that
   23     correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         45



    1     the question.
    2     Q.   Fidelis continues to offer litigation support
    3     services and creditor litigation; is that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Fidelis continues to pay its employees; correct?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   Fidelis continues to pay its vendors; correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   And it continues to pay its independent
   16     contractors; is that right?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   Fidelis continues to build its law firm clients;
   21     is that correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   Fidelis helped its law firm clients convert
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    1     consumers to a contingent fee model representation; is
    2     that correct, Mr. Christo?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And some consumers have converted to a contingent
    7     fee model representation; is that correct, Mr.
    8     Christo?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   And those law firms that have successfully
   13     converted consumers to a contingency fee model of
   14     representation are still using Fidelis for litigation
   15     support services; is that correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   Previously, many of Fidelis's law firm clients
   20     charge consumers up front fees before settling any
   21     debt; correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   In May of 2024, Mr. Christo, you petitioned a
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    1     state court in New York for a certain by copy of your
    2     grandmother's birth certificate; is that correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   You sought your grandmother's birth certificate
    7     because you were filing an application to obtain
    8     Italian citizenship; is that correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   Indeed you used the services of a company called
   13     Global Residency and Citizenship Group to obtain
   14     Italian citizenship; is that correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Global Residency and Citizenship Group helps its
   19     clients secure secondary citizenship as a means to
   20     protect their financial security amidst changing
   21     conditions in their own country; is that correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   And Global Residency and Citizenship Group helps
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    1     its clients to protect their citizenship as a means to
    2     protect their wealth; is that correct, Mr. Christo?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   Mr. Christo, in 2022 and 2023, you transferred
    7     assets from Bush Lake to the Viteras Capital; right?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   And in 2023, you transferred assets from Bush
   12     Lake Trust to SRG Main Ranch LLC Properties; is that
   13     correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   In 2023, you transferred assets from Bush Lake
   18     Trust to Fidelis; right?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   And the transfer to Fidelis was to pay off a line
   23     of credit; is that correct?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         49



    1     the question.
    2     Q.   Between 2001 and 2023, you transferred assets
    3     from Bush Lake Trust to other entities; right?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   Mr. Christo, do you have any assets in foreign
    8     bank accounts?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   Since January 2024, have you moved assets from
   13     U.S. accounts to foreign bank accounts?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   Are you currently in the process of moving assets
   18     from U.S. accounts to foreign bank accounts?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   Do you intend in the future to move assets from
   23     U.S. accounts to foreign accounts?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         50



    1     the question.
    2     Q.   Since 2021, you and the Bush Lake Trust have
    3     received significant sums of money from Fidelis's
    4     intervener law firm clients; is that correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   From December 2021 to October 2023, law firms
    9     associated with SFS transferred at least $22 million
   10     to Fidelis; is that correct?
   11     A.   On the advice of my counsel, I invoke the fifth
   12     amendment privilege and respectfully decline to answer
   13     the question.
   14     Q.   Between May 2021 and October 2023, Fidelis
   15     transferred more than three and a half million dollars
   16     to the Bush Lake Trust; is that correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   That $3.5 million is money that was paid to
   21     Fidelis by law firms associated with SFS; is that
   22     correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   Between May 2021 and September 2023, Fidelis
    2     transferred more than $14 million to you personally;
    3     is that correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   That $14 million is money that was paid to
    8     Fidelis by law firms associated with SFS; is that
    9     correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Between May 2023 and September 2023, Fidelis
   14     transferred at least 7 million dollars to Viteras
   15     Capital LLC; is that correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   That $7 million was money paid to law firms
   20     associated with SFS; is that correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   You controlled the Viteras Capital LLC including
   25     its bank accounts; is that correct?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   Between March 2023 and October 2023, Fidelis
    5     transferred at least $550,000 to BBC Group LLC; is
    6     that correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   That $550,000 is money that was paid to Fidelis
   11     by law firms associated with SFS; is that correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   And you control BBC Group LLC including its bank
   16     accounts; is that correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20                  MR. DESAI:   I have no further questions.
   21     Thank you.
   22                  THE COURT:   Mr. McNamara?
   23                  MR. MCNAMARA:   Yes, Your Honor.
   24                  DIRECT EXAMINATION BY MR. MCNAMARA:
   25     Q.   Good morning, Mr. Christo.       My name is Tom
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    1     McNamara.   I'm the receiver in this case, and I'm
    2     going to ask you questions related to Fidelis's motion
    3     challenging the receivers determination that Fidelis
    4     is a receivership defendant and the related order to
    5     show cause for contempt against defendants Jason Blust
    6     and Lit Def.    Mr. Christo, you filed in corporation
    7     documents for Fidelis legal support services Fidelis
    8     in 2021; correct?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   And Fidelis provides the same services that Lit
   13     Def Strategies LLC or Lit Def provides; correct?
   14     A.   On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.   And you knew Jason Blust owned Lit Def; right?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   You have contended sort of that Lit Def and
   22     Fidelis were competitors in the legal services space;
   23     isn't that true?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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                                                                         54



    1     the question.
    2     Q.   In fact, sir, they are not competitors.           You
    3     agreed with Mr. Blust to establish Fidelis for the
    4     express purpose of replacing Lit Def as the service
    5     company which worked with debt relief law firms which
    6     Mr. Blust controlled; isn't that true?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   And the reason Mr. Blust asked you to establish
   11     Fidelis in your name as a replacement for Lit Def is
   12     because Blust was personally sued, his law firm was
   13     sued, Lit Def was sued, Relialit was sued numerous
   14     times in 2019 and 2020; correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Mr. Blust wanted to get the legal services
   19     company out of his name and you agreed to be the owner
   20     on paper of Fidelis; right?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   You agreed to be the front owner for Fidelis;
   25     right?
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                                                                         55



    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   And in 2021 and 2022, after you established
    5     Fidelis as the front owner, Mr. Blust began to
    6     transfer the legal work that was previously at Lit Def
    7     for the law firms he controlled over to Fidelis isn't
    8     that true?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   In 2021, Blust directed the Turnbull,
   13     T-U-R-N-B-U-L-L, law firms which he controlled to
   14     begin using Fidelis; right?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   In January of '22, plans were made to transfer
   19     the Strategic related law firm debt relief law firms
   20     to Fidelis; correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   And it was Mr. Blust who identified which law
   25     firms would be transferred from Lit Def to Fidelis in
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    1     January of '22; correct?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   And he instructed you and defendant Michelle
    6     Hinds Gallagher while referred to as Hinds which of
    7     these law firms would terminate with Lit Def and begin
    8     with Fidelis; didn't he?
    9     A.   On the advice of my counsel, I invoke the fifth
   10     amendment privilege and respectfully decline to answer
   11     the question.
   12     Q.   And at the same time, January of 2022, Blust
   13     ordered Hinds to begin assigning Lit Def employees to
   14     Fidelis work to assist with the Strategic related law
   15     firms Blust had migrated to Fidelis beginning in
   16     February of 2022; isn't that true?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   And he coordinated with Hinds and his payroll
   21     company to put these Lit Def employees on Fidelis
   22     payroll as well; didn't he?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   And you weren't consulted or involved in any of
    2     these actions with which Mr. Blust ordered; were you?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And after he began to transfer his law firm
    7     clients which he controlled and the employees from Lit
    8     Def to Fidelis, he continued to monitor and control
    9     Fidelis through weekly production reports which were
   10     known as file submission reports which Hinds provided
   11     Blust every week and which included productivity
   12     metrics for Fidelis employees; isn't that right?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   And Blust continued to receive and review these
   17     Fidelis productivity reports and make operational
   18     decisions for Fidelis until at least January of 2024
   19     when this lawsuit was filed; isn't that true?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And you, sir, were not provided the weekly
   24     productivity reports that Ms. Hinds generated for you?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   And based on these productivity reports and the
    4     metrics contained therein, Blust periodically directed
    5     Hinds to transfer employees from Lit Def to Fidelis
    6     without any consultation or involvement of you; isn't
    7     that true?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   And Blust also set the bonuses for Fidelis
   12     employees in December of '22 and December of '23 just
   13     weeks before this lawsuit was filed and instructed
   14     Hinds to inform the employees of those bonuses;
   15     correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   For example, in December of 2022, Blust
   20     instructed Hinds to pay Hayfa Zayed then a Fidelis
   21     employee and Client First Bankruptcy law firm employee
   22     a bonus of $2,000 from Fidelis; correct?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   And Blust set these bonuses and asked Hinds to
    2     inform the employees of these bonuses for Fidelis
    3     employees without any consultation or involvement of
    4     you; correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And indeed, sir, to the extent you approved these
    9     2022 and 2023 bonuses for Fidelis employees as you
   10     claim that there were declarations, that approval
   11     consists only of authorizing payments using Sure
   12     Payroll after Blust had already determined the amounts
   13     and Hinds had already told the employees of their
   14     bonuses; isn't that correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   Similarly, Blust increased the salaries for
   19     Fidelis employees without any of your involvement;
   20     correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   Indeed, sir, at the outset of 2021 when you
   25     established Fidelis, you and Blust had agreed to move
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    1     all of the law firm clients that Mr. Blust controlled
    2     and the Lit Def employees to Fidelis; isn't that true?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   I'm going to talk for a minute about the transfer
    7     of assets from Lit Def to Fidelis.        Blust or Lit Def
    8     provided all the computers used by the employees at
    9     Fidelis; correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   You also had Lit Def transfer the software, the
   14     interface to Strategic and the law firms from Lit Def
   15     to Fidelis employees; correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   So Blust provided all of Fidelis's clients;
   20     correct?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   Blust through Lit Def also provided most of
   25     Fidelis's employees; correct?
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    1     A.      On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.      And Blust through Lit Def provided the
    5     infrastructure for Fidelis to operate; isn't that
    6     true?
    7     A.      On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.      And Blust and Lit Def also provided the funds to
   11     Fidelis directly and indirectly; correct?
   12     A.      On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.      I want to talk for a minute about the $750,000
   16     paid by Strategic to Fidelis that you provided
   17     declaration statements twice in your declarations.
   18     First, you're aware that Christopher Kesterson of K2
   19     Financial Management is Blust's long time accountant;
   20     correct?
   21     A.      On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.      Mr. Kesterson is not your accountant; correct?
   25     A.      On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   And he is not Fidelis's accountant; correct?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   At Blust's direction in October of 2021,
    8     Kesterson instructed Strategic to pay $750,000 which
    9     Strategic owed to Lit Def to Fidelis; isn't that true?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   And then you for the next number of months
   14     submitted Fidelis invoices to Strategic totaling
   15     $750,000, and Strategic paid Fidelis in full; correct?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   In your March for 2024 sworn declaration to this
   20     Court which is Docket 190-4 at Paragraph 36, you state
   21     in Fall of 2021, Strategic Client Support LLC hired me
   22     to vet a new software platform.       I was to determine
   23     whether the software would integrate with existing
   24     systems and ensure that it was stable, reliable and
   25     functional.   That was a lie; wasn't it, sir?
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    1     A.   On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.   And then you state in your second declaration,
    5     your second sworn statement to this Court dated March
    6     21, 2024, which is at Docket 233-1 at Paragraph 4, you
    7     state -- or Paragraph 12, you state as follows.
    8                Paragraphs 35 through 38 of my March 4
    9     declaration fully address the work I performed vetting
   10     software for Strategic Client Support LLC.           I
   11     performed that work myself and billed it through
   12     Fidelis to fund Bush Lake Trust.       My $750,000 fee paid
   13     in installments was compensation arranged between
   14     myself and my client.     Again, that sworn testimony to
   15     this Court was false; wasn't it, sir?
   16     A.   On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.   In fact, you were never hired by Strategic to
   20     perform work vetting the software platform, were you?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   You had no written contract with Strategic
   25     relating to this alleged vetting work for $750,000,
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    1     did you?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   Nor did you have a scope of work for this alleged
    6     vetting work; correct?
    7     A.   On the advice of my counsel, I invoke the fifth
    8     amendment privilege and respectfully decline to answer
    9     the question.
   10     Q.   And in fact, sir, you never performed any work
   11     for Strategic in exchange for the $750,000 that was
   12     transferred to Fidelis; correct?
   13     A.   On the advice of my counsel, I invoke the fifth
   14     amendment privilege and respectfully decline to answer
   15     the question.
   16     Q.   Yeah.   The only communications you ever had with
   17     Strategic were the seven invoices you sent to
   18     Strategic's accounting department every month;
   19     correct?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And it's true that you fully understand still
   24     that at the time you received that money that that
   25     $750,000 being paid by Strategic to Fidelis was
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    1     actually owed to Blust or Lit Def at the time that you
    2     received those payments; correct?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   And more importantly, sir, you knew the time you
    7     offered testimony to this Court not once but twice
    8     that the $750,000 Strategic payment to Fidelis was
    9     Blust's or Lit Def's funds; correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   I'm going to move on to Hayfa Zayed.            Mr.
   14     Christo, you stated in your declaration on March 4
   15     that you hired Ms. Zayed and that she reports to you
   16     and that she was not a Lit Def employee; correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   What you failed to note in your declaration is
   21     Zayed also reported to Blust during her time of
   22     employment with Fidelis; didn't you?
   23     A.   On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   And you were aware, sir, at the time you
    2     submitted that declaration Zayed had worked for Blust
    3     at his law firm, Client First Bankruptcy; right?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   And you state in that same declaration on March 4
    8     that Michelle Gallagher, Ms. Hinds, reports only to
    9     you; correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   But you understood at the time you filed your
   14     declaration Ms. Hinds was a long time employee of Mr.
   15     Blust and was a front attorney in her own right;
   16     correct?
   17     A.   On the advice of my counsel, I invoke the fifth
   18     amendment privilege and respectfully decline to answer
   19     the question.
   20     Q.   Sir, just to summarize, Blust owns or controls
   21     all of Fidelis's law firm clients; correct?
   22     A.   On the advice of my counsel, I invoke the fifth
   23     amendment privilege and respectfully decline to answer
   24     the question.
   25     Q.   And that includes the Turnbull Law Group and all
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    1     of the associated Turnbull firms; correct?
    2     A.   On the advice of my counsel, I invoke the fifth
    3     amendment privilege and respectfully decline to answer
    4     the question.
    5     Q.   At the time you filed your declarations in this
    6     case and there were three of them March 4, March 21
    7     and April 22, 2024, you understood, sir, that you had
    8     a number of obligations to cooperate with the
    9     receiver; correct?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Indeed, at the time you filed your three
   14     declarations in this case, you understood that as an
   15     individual in active concert or participation with the
   16     defendants in this case that you were restrained and
   17     adjoined from trance acting any business of any
   18     receivership defendant; correct?
   19     A.   On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.   And at the time you filed your three
   23     declarations, you understood that as an individual in
   24     active concert or participation with the defendants in
   25     this case, you were restrained and enjoined from doing
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    1     any act or refraining from doing any act whatsoever to
    2     interfere with the receivers taking custody, control,
    3     possession or managing the assets of the receivership
    4     defendants, in this case Fidelis; correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And you knowingly violated the temporary
    9     restraining order by continuing to violate or
   10     continuing to operate Fidelis which was controlled by
   11     Blust after you had knowledge of the TRO; correct?
   12     A.   On the advice of my counsel, I invoke the fifth
   13     amendment privilege and respectfully decline to answer
   14     the question.
   15     Q.   And you continued to knowingly violate the
   16     preliminary injunction that replaced the TRO by
   17     knowingly operating Fidelis; correct?
   18     A.   On the advice of my counsel, I invoke the fifth
   19     amendment privilege and respectfully decline to answer
   20     the question.
   21     Q.   And you knowingly violated the TRO and the PI by
   22     interfering with the receiver's ability to take
   23     custody, control and possession of assets and
   24     documents of Fidelis by submitting false testimony to
   25     this Court designed to give the appearance that
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    1     Fidelis was owned -- was not owned or controlled by
    2     Blust; isn't that true?
    3     A.   On the advice of my counsel, I invoke the fifth
    4     amendment privilege and respectfully decline to answer
    5     the question.
    6     Q.   Mr. Blust, I want to talk for a minute about your
    7     March 4 declaration to this court, the sworn testimony
    8     you provided on that date.
    9                MR. PERSONIUS:    Your Honor, just to correct
   10     the record, it's Mr. Christo.
   11                MR. MCNAMARA:     Oh, I'm sorry.     Did I say Mr.
   12     Blust?
   13                MR. PERSONIUS:    Yes.
   14                MR. MCNAMARA:     I'm sorry.
   15     Q.   Mr. Christo, I want to talk about the declaration
   16     you provided to the Court on March 4, 2024.           At
   17     paragraph 4 you claim Fidelis is my company.           I
   18     created it.   I funded it.    My trust owns it and I over
   19     see and direct the operations.       Jason Blust has no
   20     ownership interest of Fidelis.       He does not receive
   21     any money or other benefit from Fidelis and he's not
   22     employed by Fidelis and he does not make decisions for
   23     Fidelis.   That's what you said in that declaration;
   24     correct?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   And those claims were false; weren't they?
    4     A.   On the advice of my counsel, I invoke the fifth
    5     amendment privilege and respectfully decline to answer
    6     the question.
    7     Q.   You did not fund Fidelis's operation; did you?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   And we've also already gone through it, but in
   12     this declaration, you also claim that you were hired
   13     to vet software platform by Strategic for $750,000;
   14     correct?
   15     A.   On the advice of my counsel, I invoke the fifth
   16     amendment privilege and respectfully decline to answer
   17     the question.
   18     Q.   And you told this Court I've been handling these
   19     sorts of large scale multi million consulting projects
   20     throughout my career; didn't you?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   In your March 21, 2024, declaration, which is
   25     Docket 233-1, in Paragraph 4, you state again "In my
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    1     March 4, 2024, declaration, I stated as clearly and
    2     absolutely as possible that Jason Blust does not own
    3     or control Fidelis."     That's what you said to this
    4     Court; correct?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And that was a false statement to this Court;
    9     wasn't it?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   At Paragraph 7 of that same declaration you state
   14     Jason Blust is not a consultant for Fidelis and he
   15     does not control it in any respect.        He does not set
   16     policy.   He does not described strategy, he does not
   17     make decisions.    He does not direct operations.         In
   18     short, he has no role in the running of Fidelis's
   19     business; isn't that what you said?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And that was false; wasn't it?
   24     A.   On the advice of my counsel, I invoke the fifth
   25     amendment privilege and respectfully decline to answer
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    1     the question.
    2     Q.   At Paragraph 10, sir, of that same declaration,
    3     you say Lit Def never transferred any asset, right,
    4     duty, obligation or liability to Fidelis.            You said
    5     that to this Court; didn't you?
    6     A.   On the advice of my counsel, I invoke the fifth
    7     amendment privilege and respectfully decline to answer
    8     the question.
    9     Q.   And that was false; wasn't it?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   And at Paragraph 19 of that same declaration, you
   14     began as follows.    From the moment I first heard the
   15     receivers allegation, it has mystified me.           Jason
   16     Blust simply does not own or control Fidelis in any
   17     way, and Fidelis is not and never was Lit Def's
   18     successor alter ego.     On behalf of myself and my
   19     staff, I earnestly hope that this matter can be
   20     promptly put to rest.     Isn't that what you said?
   21     A.   On the advice of my counsel, I invoke the fifth
   22     amendment privilege and respectfully decline to answer
   23     the question.
   24     Q.   And that statement was false; wasn't it?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.   In particular, Jason Blust controlled Fidelis;
    4     didn't he?
    5     A.   On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.   And Fidelis was indeed assessor to Lit Def;
    9     wasn't it?
   10     A.   On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.   Sir, I want to move to your third declaration
   14     which was filed on April 22, 2024, in this matter
   15     which is a Docket 320-1.     Again, sir, for the third
   16     time under oath to this Court, you state Fidelis is my
   17     company.   I founded it.    I funded it.      I run it and my
   18     trust and the trust I created receives the profits
   19     from it.   Isn't that what you said?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23     Q.   And that was a false statement to this Court;
   24     wasn't it?
   25     A.   On the advice of my counsel, I invoke the fifth
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    1     amendment privilege and respectfully decline to answer
    2     the question.
    3     Q.      You filed three declarations in support of the
    4     pleadings in this matter; right?
    5     A.      On the advice of my counsel, I invoke the fifth
    6     amendment privilege and respectfully decline to answer
    7     the question.
    8     Q.      And these three declarations supported a number
    9     of pleadings that you filed related to Fidelis's
   10     motion challenging the receiver's determination that
   11     Fidelis is a receivership defendant and the related
   12     OSC motion for contempt as to Jason Blust and Lit Def;
   13     right?
   14     A.      On the advice of my counsel, I invoke the fifth
   15     amendment privilege and respectfully decline to answer
   16     the question.
   17     Q.      And you read these pleadings in the declarations
   18     before you filed them with the Court; didn't you, sir?
   19     A.      On the advice of my counsel, I invoke the fifth
   20     amendment privilege and respectfully decline to answer
   21     the question.
   22     Q.      And your declaration, your sworn statements to
   23     this Court and your pleadings contain numerous false
   24     arguments, claims and factual statements; isn't that
   25     true?
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    1     A.     On the advice of my counsel, I invoke the fifth
    2     amendment privilege and respectfully decline to answer
    3     the question.
    4     Q.     And in fact, it's in one of your pleadings you
    5     contended prior to our receipt of the Lit Def emails
    6     that the receiver cannot identify a single thing that
    7     Jason Blust has ever done to exercise control over
    8     Fidelis.   Isn't that what you said in your pleadings,
    9     sir?
   10     A.     On the advice of my counsel, I invoke the fifth
   11     amendment privilege and respectfully decline to answer
   12     the question.
   13     Q.     And that same pleading, you claimed the evidence
   14     uniformly establishes that you exercise complete
   15     control over Fidelis.     Isn't that what you said?
   16     A.     On the advice of my counsel, I invoke the fifth
   17     amendment privilege and respectfully decline to answer
   18     the question.
   19     Q.     And that same pleading, you claim that suspicion
   20     hysteria surrounding Jason Blust has precipitated an
   21     effort to seize your business based on run away
   22     conjecture.   Isn't that what you said?
   23     A.     On the advice of my counsel, I invoke the fifth
   24     amendment privilege and respectfully decline to answer
   25     the question.
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    1     Q.   In that same pleading you claim the receiver has
    2     fixated on commandeering your company because he
    3     suspects that someone somehow some way Jason Blust is
    4     pulling the strings and reaping profits, and that
    5     Fidelis is a receivership defendant and all of this is
    6     yielded is nothing but an appalling waste of time.
    7     Isn't that what you said?
    8     A.   On the advice of my counsel, I invoke the fifth
    9     amendment privilege and respectfully decline to answer
   10     the question.
   11     Q.   I just saw you smiling, Mr. Christo.            Is
   12     something funny?
   13                 MR. HOOVER:   Objection.
   14                 MR. MCNAMARA:   No, I --
   15                 MR. HOOVER:   Don't answer that.
   16                 MR. MCNAMARA:   He's smiling.
   17                 THE COURT:    Let's go onto the next question.
   18     Q.   And none of those claims that I just read to you
   19     were true; were they?
   20     A.   On the advice of my counsel, I invoke the fifth
   21     amendment privilege and respectfully decline to answer
   22     the question.
   23                 MR. MCNAMARA:   Thank you, sir.
   24                 THE COURT:    Mr. Hoover, are you going to ask
   25     anything?
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    1                MR. HOOVER:    No questions Judge.
    2                THE COURT:    Mr. Personius.
    3                MR. PEROSNIUS:    Thank you.      No, Your Honor.
    4                THE COURT:    You can step down.
    5                MR. MCNAMARA:    Your Honor, I think the only
    6     one of the things that Mr. Smith reminded me is we
    7     need to move the exhibits in, and I think all parties
    8     agreed to do that.
    9                MR. HOOVER:    Can Mr. Christo be excused
   10     Judge.
   11                THE COURT:    Sure.
   12                MR. HOOVER:    Thank you.     No objection to the
   13     receiver's exhibits that were marked.
   14                MR. SANDERS:    No objection.
   15                THE COURT:    Where are we on the -- well, is
   16     there anymore witnesses from the plaintiff?
   17                MR. SANDERS:    Nothing further from the
   18     plaintiffs, Judge.
   19                THE COURT:    Mr. McNamara?
   20                MR. MCNAMARA:    Nothing, Your Honor.
   21                THE COURT:    Mr. Personius?
   22                MR. PERSONIUS:    No.    Thank you, Your Honor.
   23                THE COURT:    Mr. Hoover?
   24                MR. HOOVER:    No other than I will get a link
   25     to our exhibits to the Court, the electronic.
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    1                  THE COURT:    Okay.
    2                  MR. HOOVER:   They're admitted.            We just have
    3     to send them over.
    4                  THE COURT:    What about the exhibits, Ms.
    5     Rados, related to the preliminary injunction?
    6                  MS. RADOS:    The first preliminary injunction
    7     hearing?
    8                  THE COURT:    Yes.
    9                  MS. RADOS:    We can --
   10                  THE COURT:    It's my understanding you wanted
   11     those exhibits admitted?
   12                  MS. RADOS:    We would ask that those not need
   13     to be readmitted.    I believe Mr. Hoover did not agree
   14     with that.    I'm willing to give you some reasons as to
   15     why we think it would be appropriate to admit them.
   16                  THE COURT:    It's still in dispute is what
   17     you are telling me?
   18                  MS. RADOS:    I believe it's still in dispute.
   19                  THE COURT:    I'll hear from you.
   20                  MS. RADOS:    First of all, they were admitted
   21     upon asking at the first hearing, and I think you were
   22     cognizant of the fact that at a preliminary injunction
   23     stage there is a lower evidentiary standard.                Even
   24     hearsay can be admitted, and the Court is fully
   25     capable of determining the weight to give even hearsay
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    1     evidence that goes more to the weight than the
    2     preclusion issues.
    3                You incorporated certain findings of fact
    4     from that evidence into the decision in Docket Number
    5     183.   Plaintiffs I believe are arguing it's not fair
    6     to them because they weren't present.         That argument
    7     doesn't really hold water for a couple of reasons.
    8     First, their theory is so far as we understand it is
    9     that Fidelis is a back room administrative support
   10     service.
   11                The scope of the first preliminary
   12     injunction hearing was clearly limited to the notary
   13     process and whether the face-to-face exemption
   14     applied.   If Fidelis is indeed far removed from that
   15     process, then there can be no prejudice to them by
   16     having those exhibits submitted, but under our theory,
   17     we think that that evidence is important because our
   18     theory is that Fidelis is controlled by Blust.
   19     Therefore is going to be with Blust.        Blust was
   20     present, fully able to defend himself and raise any
   21     objections at that first preliminary injunction
   22     hearing, so we don't see any prejudice to Fidelis to
   23     any of those exhibits and we see it prejudicial to us
   24     not to admit them.    Thank you.
   25                THE COURT:    Mr. Hoover?
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    1                MR. HOOVER:    Yes, Judge.     Plaintiffs reached
    2     out to us Wednesday night at 9 and gave us all of
    3     those exhibits and said we'd like to admit them, and
    4     all the arguments I made yesterday hold.             Fidelis,
    5     first of all, this preliminary injunction motion is
    6     not about Blust.    Right?   So the fact that Blust was
    7     there is irrelevant.     Fidelis and the relief
    8     defendants were not parties at that time.            They didn't
    9     have a chance to participate, and honestly, if any of
   10     that was important, and those documents as far as I
   11     look on a quick scan are ripe with different levels of
   12     hearsay, but that was a different hearing, different
   13     issues, different parties, and if the plaintiffs
   14     wanted to admit them, they should have put them on
   15     their exhibit list at least a week out that the Court
   16     set.   My suggestion, Judge, unless you feel compelled
   17     to rule on it right now that parties can brief whether
   18     those should be admitted.
   19                THE COURT:    Ms. Rados?
   20                MS. RADOS:    I think the question of whether
   21     this is about Blust, I think we're alleging an
   22     interconnected scheme where everything is in issue
   23     with this current preliminary junction.         Blust is a
   24     fundamental part of our case, and he was fully able to
   25     defend himself at that hearing.       I just note that
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    1     Fidelis did actually use one of our preliminary
    2     injunction Exhibits, 67, in their evidence, so they
    3     had a chance to look through it.         You know, that's it.
    4     Thank you.
    5                  MR. HOOVER:   May I respond briefly, Judge?
    6                  THE COURT:    Sure.
    7                  MR. HOOVER:   Yes.     I had a chance to scan
    8     them between Wednesday night and now, and we did use
    9     one exhibit related to a witness who testified.               You
   10     can actually search in Acrobat names.           That's what I
   11     did.   We looked at it.     It was admitted.           I understood
   12     I looked at the transcript of that hearing and I had a
   13     client testify first at the hearing that it was about
   14     the face-to-face exemption, and I did a word search on
   15     the transcript of the hearing and Fidelis wasn't
   16     mentioned at all.    Litigation support services on
   17     lawsuits weren't mentioned at all.          I just don't see
   18     the relevant for a mass admission.          We like
   19     streamlining too.    That's why we agreed to the
   20     exhibits that were marked for this, but it seems a
   21     little too far, Judge.
   22                  THE COURT:    All right.    I don't think I can
   23     hold off ruling on it because you guys are going to
   24     have to brief this issue, and they're going to refer
   25     to the exhibits.    So I will overrule your objection.
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    1     They'll file it and you can put in your papers that
    2     they referred to this exhibit and you shouldn't
    3     consider that for whatever reason.           Okay?
    4                MR. HOOVER:     Can we just -- may I, Judge?
    5                THE COURT:     Yes.
    6                MR. HOOVER:     Can we just reserve our right
    7     to offer once those are in anything additional in
    8     writing to -- or submission based on those?              It's 68
    9     exhibits or 67 exhibits.
   10                THE COURT:     No because we're done.          This is
   11     the close of the hearing.        All right?      So we'll put a
   12     briefing schedule in place.          I guess we're on two
   13     different brief schedules or two different issues.
   14     Right?   There's the preliminary injunction by the
   15     plaintiffs, and then there's the contempt motion by
   16     Mr. McNamara.      Mr. Hoover, I assume you'll respond to
   17     the preliminary injunction motion.           Mr. Personius will
   18     respond to the contempt.
   19                MR. Personius:     Yes, Your Honor.
   20                MR. HOOVER:     Yes.
   21                THE COURT:     Okay.      I'll give you -- we'll do
   22     simultaneous briefing.      I'll give two weeks for the
   23     initial briefs.
   24                THE CLERK:     That would take us to February
   25     7.
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    1                  THE COURT:    We'll do one week to reply.
    2                  THE CLERK:    February 14.
    3                  THE COURT:    And we'll set a date for oral
    4     argument for the next one.
    5                  THE CLERK:    February 25, it's a Tuesday at
    6     10:30.
    7                  MR. CONNORS:    What was the first date, the
    8     initial date for the first date?
    9                  THE CLERK:    February 7.
   10                  MR. CONNORS:    7.
   11                  THE CLERK:    Yes.
   12                  MR. PERSONIUS:   I know you always accuse me
   13     of having the last word so hopefully this isn't the
   14     last word.    The jurisdictional issue that we raised
   15     should in their submissions on February 7, Judge, if
   16     they choose to, probably mostly the receivers, should
   17     that jurisdictional issue be addressed by them --
   18                  THE COURT:    Sure.
   19                  MR. PERSONIUS:   -- in their original
   20     submission?
   21                  THE COURT:    Sure.    Mr. McNamara, do you
   22     understand that?
   23                  MS. MCNAMARA:    I think so, and I will talk
   24     to Mr. Personius after if I don't.
   25                  MR. HOOVER:    Could I make one request,
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    1     Judge?    Without changing the date, could the initials
    2     be due February 10 and the replies February 17,
    3     please?
    4                  THE COURT:    You started not switching the
    5     dates and then you ask me to switch the date.
    6                  MR. HOOVER:    I'm sorry.
    7                  THE COURT:    Can you go back to those dates?
    8                  MR. HOOVER:    I meant the argument date
    9     without switching the argument date.          Just three
   10     additional days for each for everyone.
   11                  THE COURT:    Any objection?
   12                  MR. SANDERS:   No objection, Judge.
   13                  THE COURT:    February 10 and February 17.
   14                  MR. HOOVER:    Thank you, Judge.
   15                  THE COURT:    Okay.    Anything else?
   16                  MR. SANDERS:   Just want the record to know
   17     Mr. Hoover raised the last, not me.
   18                  THE COURT:    Mr. Hoover had one more thing.
   19     All right.    Everybody have a safe trip back, and of
   20     course, the last word of the day is Go Bills.
   21                  MR. SANDERS:   Go Bills.
   22                  (Proceeding concluded at 10:58 A.M.)
   23
   24
   25
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    1                CERTIFICATE OF COURT REPORTER
    2                I certify that this is a true and accurate
    3     record of proceedings in the United States Magistrate
    4     Court for the Western District of New York before the
    5     Honorable Michael J. Roemer on January 24, 2025.
    6
    7     S/ Brandi A. Wilkins
    8     Brandi A. Wilkins
    9     Official Court Reporter
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